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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           BILLINGS DIVISION

ESTATE OF SEAN PATRICK                           CV 18-106-BLG-TJC
O’BRIEN, ROBIN LARSON, and THE
ESTATE OF KEELIN O’BRIEN,
                                                 ORDER
                    Plaintiffs,

vs.

CITY OF LIVINGSTON, a political
subdivision of the State of Montana,
KEVIN ENGLE, ANDREW
EMANUEL, DALE JOHNSON, and
JOHN DOES 1-10,

                    Defendants.

      IT IS HEREBY ORDERED that a Daubert Hearing will be held in the

above-captioned case on June 16, 2021 at 10:00 a.m. to determine the

admissibility of Defendant’s proposed expert testimony on the issue of “suicide by

cop.” Counsel and the witnesses may participate in the conference via

videoconferencing. The parties shall contact Deputy in Charge, Julie Hollenbeck

at 406-247-2311 to obtain the access information for the Zoom conference.

      DATED this 7th day of June, 2021.

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                                       TIMOTHY J. CAVAN
                                       United States Magistrate Judge
